Exhibit 2
                                                  Page 1
              UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS
                WESTERN DIVISION
- - - - - - - - - - - - - - -
CITY OF ROCKFORD,         Case No. 3:17-cv-50107
            Plaintiff,
                          VIDEOTAPED
  v.                      DEPOSITION OF:
                          DR. STEVEN MILLER
MALLINCKRODT ARD INC.,
et al.,                   SEPTEMBER 15, 2022
                          9:02 a.m.
             Defendants.
- - - - - - - - - - - - - - -
SERIES 17-03-615, a       Case No. 3:20-cv-50056
designated series of MSP
RECOVERY CLAIMS, SERIES
LLC, et al.,
            Plaintiffs,
  v.

EXPRESS SCRIPTS INC., et al.,

             Defendants.
- - - - - - - - - - - - - - -
             VIDEOTAPED DEPOSITION OF
DR. STEVEN MILLER, before Alexis A. Jensen, RPR,
CRR, and a Certified Court Reporter, at Hilton
St. Louis Airport, 10330 Natural Bridge Road,
St. Louis, Missouri, on Thursday,
September 15, 2022, commencing at approximately
9:02 a.m., pursuant to Notice.
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                                                   Page 2
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                                                    Page 3
1    APPEARANCES CONTINUED:

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9      Also present:   Urmila Baumann, Associate Chief
                          Counsel, Express Scripts
10                     Nathan Arndt, Videographer

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1                   I N D E X
2    WITNESS
3    DR. STEVEN MILLER
4
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1          THE VIDEOGRAPHER:     We are now on

2    the record.   This is the deposition of

3    Dr. Steve Miller in the matter of City of

4    Rockford versus Mallinckrodt ARD, et al.

5    This deposition is being held at the

6    Hilton St. Louis Airport, 10330

7    Natural Bridge Road, St. Louis, Missouri.

8          Today's date is September 15th,

9    2022, and the time is 9:02 a.m.    My name

10   is Nathan Arndt.   I'm the videographer.

11   The court reporter is Alexis Jensen.

12         Counselors, will you please

13   introduce yourselves and affiliations for

14   the record, and the witness will be sworn

15   in.

16         MR. HAVILAND:     This is Don Haviland

17   from Haviland Hughes, Counsel for the City

18   of Rockford and the Class.

19         MR. FORST:   Good morning.

20   Keith Forst with Quinn Emanuel Urquhart --

21   oh, I'm sorry.   I --

22         MR. HAVILAND:     We have other

23   Plaintiffs' Counsel.

24         MR. FORST:   Go ahead.    I'm sorry.

25         MS. HIGGINS:      Good morning.
                                                     Page 7
1    Anna Higgins, from Milberg, on behalf of

2    the MSP Series Plaintiffs.

3             MR. FORST:    And, again,

4    Keith Forst, with Quinn Emanuel Urquhart &

5    Sullivan, on behalf of the witness and

6    Defendants Express Scripts Entities.

7             MR. BARTIMUS:   James Bartimus on

8    behalf of the City of Rockford.

9             MR. HAMANN:    Yes, I'm

10   Matt Hamann --

11            MR. DEWITT:    Anthony DeWitt on

12   behalf of the City of Rockford.

13            MR. HAVILAND:   Oh, we have a crowd.

14   Okay.    Anyone else for Rockford?

15            MR. HAMANN:    Anyone else?

16            MR. HAVILAND:   Yeah.     Okay.

17            MR. HAMANN:    All right.   You also

18   have Matt Hamann, from Quinn Emanuel, on

19   behalf of the Express Scripts Entities.

20            MS. BAUMANN:    Urmila Paranjpe

21   Baumann, Associate Chief Counsel for

22   Litigation, on behalf of the Express

23   Scripts Entities.

24            MR. HAVILAND:   All right.    We

25   ready?
                                                       Page 8
1                  Good morning, Dr. Miller.

2                  (Discussion held off the record.)

3                      DR. STEVEN MILLER,

4           having been called as a witness, being

5           duly sworn, testified as follows:

6                        EXAMINATION

7    BY MR. HAVILAND:

8           Q      Once again, good morning,

9    Dr. Miller.

10   A      Good morning.

11          Q      My name is Don Haviland, and I'm

12   a -- a lawyer for the City of Rockford in a case

13   that was filed against Mallinckrodt and

14   Express Scripts way back in April of 2017.

15                 I -- you understand you're

16   appearing today to give a deposition, right?

17   A      Correct.

18          Q      Have you ever been deposed before,

19   sir?

20   A      Yes, sir.

21          Q      In the last 10 years?

22   A      No, sir.

23          Q      Okay.    In your capacity as an

24   employee of Express Scripts?

25   A      No, sir.
                                                        Page 18
1    way.   We drive better care through adherence.

2    So, we have clinical programs that help assist

3    patients in their care.   And so those are the

4    primarily -- primary ways in which we assist

5    patients to get to the right drugs at the lowest

6    costs.

7             Q      What does ESI do to help drive down

8    the cost of prescription drugs?

9    A        So, one of the -- there are -- there's

10   essentially no other entities in the US

11   marketplace that work to drive down the costs of

12   drugs.   Initially, our biggest lever was the

13   ability to move people from branded drugs to

14   generic drugs.   And so, that was extremely

15   valuable, because generic drugs are often much

16   more inexpensive than the branded product, but

17   equally efficacious.

18                   And then, for the times where there

19   are no generics, if there's competition, there's

20   brands that compete in a category, we can pit

21   them against them, and hopefully get to the

22   lowest price.

23            Q      What about specialty drugs, what

24   are specialty drugs?

25   A        So, specialty drugs is a category of
                                                       Page 19
1    drugs.   Usually, they are very expensive.    They

2    usually have special handling requirements.    They

3    often are more toxic, and so they're not

4    routinely handled by retail pharmacists.     And so,

5    specialty drugs is a class of drugs that

6    represents 2 to 4 percent of dispenses, but are

7    now up to almost 50 percent of the cost of

8    healthcare -- of pharmaceuticals care.

9             Q     Can I get those statistics again?

10   2 to 4 percent --

11   A        So, 2 to 4 percent of the population uses

12   a specialty medication, depending on the

13   population you're looking at; and it's currently

14   about 50 percent of pharmaceutical spend.

15            Q     That's astounding, isn't it?

16   A        It's very -- yes.

17            Q     And that's grown over time since

18   you started at Express Scripts, right?

19   A        Correct.

20            Q     And it's grown as a function of

21   drugs being called speciality and then moved out

22   of general wholesale distribution?

23   A        That's a minor component to it.   It's the

24   innovation that's occurred in pharmaceuticals, so

25   the number of new products that come to the
                                                      Page 21
1    finish my question, and that way we won't talk

2    over each other, and Alexis here has to get us

3    both down.    So, I appreciate your willingness to

4    answer.     Let me just reorient the question.

5                    This category called "specialty,"

6    that didn't exist when you got out of medical

7    school, did it?

8    A       I don't know.

9            Q       Do you know what makes a drug,

10   special, who determines that it's a specialty

11   drug versus a brand or generic?

12   A       So, the government actually has a

13   definition for specialty drugs, and so for the

14   government, it's any drug that is priced at over

15   $500.

16           Q       Okay.   It's based upon price?

17   A       For the government, yeah.

18           Q       What about the commercial

19   marketplace, how is specialty determined?

20   A       So, as we -- as I said previously, we look

21   at specialty drugs as high-priced drugs that

22   often require special handling or instructions or

23   have a big teaching component for the patient or

24   have more toxicities.

25           Q       Okay.   You'd agree with me, apart
                                                       Page 39
1    self-administered drug?

2    A     Correct.

3          Q       So, the graphic here shows that a

4    physician would call in a script -- I'm going to

5    skip over the hub for a moment that's depicted

6    here, but if you could look down to

7    CuraScript SP, you were familiar, back in 2007,

8    that Express Scripts had acquired and then owned

9    a specialty pharmacy by the name of CuraScript

10   Specialty Pharmacy, right?

11   A     Correct.

12                 MR. FORST:   Object -- let me

13         just -- wait a beat, so I can get some of

14         these -- I can have a bunch of questions

15         ruled on.

16                 MR. HAVILAND:   That's fine.

17                 THE DEPONENT:   Sorry.

18                 MR. FORST:   So, objection to the

19         form.

20                 But you can answer.

21   BY MR. HAVILAND:

22         Q       And that entity was in the business

23   of fulfilling prescriptions of specialty

24   medications, right?

25   A     Correct.
                                                         Page 41
1          Q         Now, when you were a practicing

2    physician, you would administer it in the

3    hospital setting, I assume?

4    A     My practice was all university-based.

5          Q         Okay.   And if a -- if a mother

6    presented in the hospital and had a child that

7    had infantile spasms, the hospital would

8    administer Acthar to that child in the hospital

9    setting, correct?

10   A     Correct.

11                   MR. FORST:   Object -- object to the

12         form.

13   BY MR. HAVILAND:

14         Q         And you'll see in the graphic

15   there's a hospital box there.      It's a circle.

16   And that's directly beneath, CuraScript Specialty

17   Distribution.

18                   Do you see that?

19   A     Correct.

20         Q         Okay.   And when you were practicing

21   in the hospital setting, sir, you didn't have to

22   go to CuraScript to get the drug; you'd just go

23   to the hospital dispensary, right?

24                   MR. FORST:   Objection, vague,

25         ambiguous, calls for speculation.
                                                       Page 43
1    the physician talks to about using Acthar to

2    treat that, right?

3    A       Correct.

4            Q     And patients -- or the parents are

5    relying upon the doctor to prescribe the

6    appropriate therapy, correct?

7    A       Correct.

8            Q     And Acthar has treated infantile

9    spasms for 60 years?   70 years?

10   A       It's been in the market since the early

11   '50s.

12                 (Reporter clarification.)

13                 THE DEPONENT:   It has been in the

14           market since the early '50s, I believe.

15   BY MR. HAVILAND:

16           Q     And Acthar is ACTH, right?

17   A       It is an ACTH preparation.

18           Q     Okay.    And what do you mean by

19   that?

20   A       So, Acthar is made from the pituitaries of

21   pigs, and so through a proprietary process, they

22   prepare an ACTH-type formula.

23           Q     So, the ACTH, the active ingredient

24   in Acthar, comes from a pig's pituitary gland?

25   A       Correct.
                                                        Page 47
1                   MR. FORST:   Objection to the form,

2          lack of foundation.

3                   THE DEPONENT:   So, I don't remember

4          the specifics of the conversation.

5    BY MR. HAVILAND:

6          Q        Okay.   You do recall that comment

7    being made, though?

8                   MR. FORST:   Objection to the form,

9          asked and answered.

10                  THE DEPONENT:   I recall comments

11         that were similar to that, but not -- I

12         don't know the exact comments that were

13         made.

14   BY MR. HAVILAND:

15         Q        Okay.   And what was your takeaway

16   about those comments?

17                  Did you agree that Acthar was not

18   worth what Express Scripts was charging for it?

19                  MR. FORST:   Objection to the form,

20         foundation.

21                  THE DEPONENT:   So, Acthar has

22         limited utilization.     For most of the

23         indications that they're listed for, it is

24         not of much value.    There are better

25         drugs.   For a couple of indications, it's
                                                          Page 52
1                      But you generally agree there are

2    those two tools that PBMs have?

3    A        Those are the major two, yes.    Correct.

4             Q        Okay.   And I want to know what you

5    know about the first tool and how Express

6    Scripts, during the time that you've been with

7    Express Scripts, now Cigna, has used that tool in

8    negotiations with pharmaceutical companies to

9    drive lower costs.

10   A        Great.

11            Q        Okay.

12   A        So, there are -- when a drug comes to the

13   market, they're placed in one of three buckets.

14   There are drugs that are called clinical

15   includes.    These are drugs that you have to have

16   on a formulary.     There's no alternative to them.

17   And so in those particular cases -- and that's

18   about 15 percent of drugs -- we become a price

19   acceptor, because we have no leverage on those

20   drugs.

21                     On the other extreme, there are

22   what are called clinical excludes.      These are

23   drugs that are on the marketplace, but have no

24   role in modern therapy.      So, these are often

25   older drugs that haven't been withdrawn from the
                                                       Page 53
1    marketplace.   So, I'll give you an example.

2    Aldomet, it's an old anti-hypertensive drug.   You

3    have to take it three times a day, it has lots of

4    side effects, and so there is no reason for

5    someone to prescribe Aldomet.   Less than 1

6    percent of drugs fit into that category.

7          Q        Okay.

8    A     85 percent of drugs are what are called

9    clinically optional, and that is these are drugs

10   where there is -- there could be a competitor to

11   those drugs, we can pit them against each other,

12   and that's where we can get the majority of the

13   savings for patients and plan sponsors, because

14   that's where we can get the pharmaceutical

15   companies to negotiate on price.

16         Q        Where do you fit Acthar in those

17   three buckets?

18   A     So, Acthar, for the majority of its time,

19   has been in the clinical include.   It was

20   something you had to have on a formulary.

21         Q        And you say "majority."   Has that

22   changed?

23   A     It was changed in I believe 2017 or 2018.

24         Q        '17 or '18, you said?

25   A     Yeah, I'd have to look at the documents.
                                                        Page 66
1    A     Yes.

2                    MR. HAVILAND:   All right.   Who

3          knows what time it is?     Because I don't

4          want to go too long in our first --

5                    MR. FORST:   It's been about an

6          hour.

7                    MR. HAVILAND:   Just let me finish

8          up with a couple questions, we'll take a

9          break.    All right?

10   BY MR. HAVILAND:

11         Q         Circling back to the -- the two

12   tools that a PBM like Express Scripts uses to

13   drive lower costs, what do you know about what

14   Express Scripts has done to try to drive down the

15   cost of Acthar either with Questcor or

16   Mallinckrodt?

17                   And in answering my question, sir,

18   I -- I don't want to shade into utilization

19   management controls, prior authorization, things

20   like that, because I only want you to focus on

21   that tool, that tool, and how, if at all, to your

22   knowledge, has the PBM used its power to directly

23   negotiate with Mallinckrodt and Questcor to drive

24   down lower costs of Acthar?

25                   MR. FORST:   Objection to the form.
                                                       Page 67
1                 Again, you can answer however you

2          best think it needs to be answered.

3                 THE DEPONENT:    So when you think

4          about the lever of competitive drugs,

5          being able to compete against another

6          product, because of the designation of

7          clinical include, there -- it means there

8          is no competitive product.   We have almost

9          no -- essentially no capability to compete

10         the price down lower.

11                So, then we can -- and this is --

12         sort of gets away from your question

13         slightly in that, so then the best tool we

14         have for our clients is utilization

15         management, making sure it's only utilized

16         in the most appropriate circumstances.

17                And then a third thing that we've

18         done is -- and probably uniquely us, is

19         that we've tried to use the bully pulpit

20         to bring this to light and put pressure on

21         companies.

22   BY MR. HAVILAND:

23         Q      By that, you mean media exposure

24   and commentary?

25   A     Yep.
                                                      Page 70
1          foundation, assumes facts not in evidence,

2          calls for speculation.

3                 THE DEPONENT:   So, I can tell you

4          specifically for me, knowing there was no

5          competitive products, and that that was

6          not a viable lever, that's why I was very

7          vocal in using the bully pulpit to try to

8          pressure them to lower the price, which

9          may or may not be effective, but that's,

10         in my role, the most effective thing I can

11         do is to make sure, A, we have the

12         appropriate utilization management, and B,

13         that we made it publicly clear that the

14         price was egregious.

15   BY MR. HAVILAND:

16         Q      Okay.   And they're the two other

17   aspects to your answer, when I asked what has

18   Express Scripts done to use its power to

19   negotiate a lower price; utilization management

20   and the bully pulpit in the media.

21                But I want to know specifically,

22   sir, if you ever said to anyone, Mr. Wentworth,

23   Mr. Neville, Rob Osborne, anyone in the

24   organization, Have we ever gone to the

25   manufacturer and asked for a lower price?
                                                      Page 109
1    allowed to manufacture in the compounding

2    business.

3             Q     Well, let's break that down.

4                   Acthar is approved for infantile

5    spasms by the FDA, correct?

6    A        Acthar is, yes.

7             Q     Yes.   It has a limited approval for

8    acute exacerbations of multiple sclerosis?

9    A        And infantile spasms, correct.

10            Q     Right.   Infantile spasms, and it

11   has a secondary approval for acute exacerbations

12   of MS?

13   A        Correct.

14            Q     A flare?

15   A        Correct.

16            Q     Just an incident; it's not a

17   disease-modifying therapy; it only helps to abate

18   the symptoms of the flare, right?

19   A        Correct.

20            Q     You would expect a very limited

21   prescription, one-and-done to abate the symptoms,

22   right?

23   A        Correct.

24            Q     So, it's a -- it's a very narrow

25   indication for multiple sclerosis, right?
                                                      Page 110
1    A     Yes.

2          Q      And as you testified previously,

3    there are 17 or 18 other indications in the

4    label, but they are not FDA-approved, right?

5    A     Correct.

6          Q      They are simply acknowledged as

7    indicated for potential use by the physician

8    community, right?

9    A     That's correct.

10         Q      And that's an important

11   distinction, right?   There's FDA-approved, as

12   you're pointing out with this situation with

13   Imprimis, and you have FDA approval for Acthar

14   for IS and acute exacerbations of MS, right?

15   A     Correct.

16         Q      All the other indications are only

17   indicated for use, right?

18   A     And that's why we have utilization

19   management for those.

20         Q      Okay.    And that's why, you'd agree

21   with me, the FDA wouldn't take a position in

22   terms of use of a drug outside of its FDA

23   approval?

24   A     I'm not --

25         Q      Well, for a physician that wants to
                                                     Page 112
1    episodes of -- exacerbations of MS.

2            Q     And the label then just deals with

3    indications and uses for other diseases, right?

4    A       Correct, which is quirky, because we don't

5    see that with many labels.

6            Q     Right.   And it's a -- it's a

7    quirkiness of the fact that this is such an old

8    medication, right?

9    A       It was before effectiveness was a

10   requirement of the FDA.

11           Q     Right.   The FDA never determined

12   effectiveness of Acthar for any use outside of IS

13   and acute exacerbations of MS?

14   A       That's correct.

15           Q     In fact, the original label had

16   treatment for migraine headaches; did you know

17   that?

18   A       No.

19           Q     It had treatment for delirium

20   tremens by alcoholics; did you know that?

21   A       No.

22           Q     But you are aware the FDA never

23   studied effectiveness of Acthar for any of those

24   other indicated potential uses?

25   A       Until 1962, the FDA didn't look at
                                                        Page 138
1             almost -- so, we actually, as the FDA, are

2             very cautious when it comes to

3             compounding.   The compounding industry

4             has, as you know, had its own problems,

5             but we actually have parts of our business

6             where compounding's important, like

7             infertility.

8                   And so -- but, you know, patients'

9             safety is really important.   There's a lot

10            of high-priced drugs.   There's a lot of

11            drugs I wish there were alternatives to,

12            but we also have to make sure they're safe

13            products.

14   BY MR. HAVILAND:

15            Q     Is there no alternative to Acthar

16   today?

17   A        For infantile spasm?    Not that I'm aware

18   of in the United States.

19            Q     How about for acute exacerbations

20   of MS?

21   A        There are drugs that work I believe better

22   than Acthar.

23            Q     And what has Express Scripts done

24   to utilize that fact, that there are cheaper

25   better alternatives to acute exacerbations, to
                                                     Page 156
1    others?

2    A       I suspect I was in my office, but I don't

3    know.

4            Q     And what was your reaction to it?

5    A       You know, like -- you know, Mallinckrodt's

6    behavior was egregious, it's horrible, and, you

7    know, I believe that we were mischaracterized in

8    the story.

9            Q     Okay.   What happened after that?

10   Did you raise your concerns about the story with

11   anyone at Express Scripts?

12   A       Obviously, there was a lot of concern

13   going around the entire executive team, and, you

14   know, we had discussions about the -- you know,

15   about the story.

16           Q     Tell me about those that you were

17   privy to.

18   A       You know, I think most of them were how do

19   we -- how do we get our side of the story out

20   there to demonstrate that we've done what we were

21   supposed to do to control the price of the drug,

22   and to make clear to the marketplace that

23   pharmaceutical companies are responsible for the

24   price of their drugs.   They set the price,

25   and -- and so making sure that the facts of the
                                                      Page 210
1    comment -- that's you, Dr. Miller?

2    A     Yes.

3          Q      -- completely, you know, and,

4    Steve, you could chime in here too, but I think

5    Steve and I would both agree, and I think

6    everybody in our company would agree, that the

7    product is vastly overpriced for the value.

8                 Did I read that correctly?

9    A     Yes.

10         Q      He then finally says, I personally

11   told their management team that the drug was

12   hugely overpriced.   I know Steve has as well.

13                Do you see that?

14   A     Yes.

15         Q      Now, they were comments made by

16   Mr. Neville at the conference, right?

17   A     Yes.

18         Q      Now, let's just unpack that before

19   you -- before we go to your comments.

20                Did you agree, when Mr. Neville

21   said you would likely agree, that it's a pretty

22   poor drug with very limited need?

23   A     That's correct.

24         Q      Okay.   You also agreed with his

25   statement that it's hugely overpriced?
                                                     Page 306
1                 C E R T I F I C A T E

2

3           I, Alexis A. Jensen, RPR, CRR, a

4    Certified Shorthand Reporter, do hereby certify

5    that prior to the commencement of the

6    examination, DR. STEVEN MILLER was duly sworn by

7    me to testify to the truth, the whole truth, and

8    nothing but the truth.

9           I DO FURTHER CERTIFY that the foregoing

10   is a true and accurate transcript of the

11   deposition of said witness who was first duly

12   sworn by me on the date and place hereinbefore

13   set forth.

14          I FURTHER CERTIFY that I am neither

15   attorney nor counsel for, nor related to or

16   employed by, any of the parties to the action in

17   which this deposition was taken, and further that

18   I am not a relative or employee of any attorney

19   or counsel employed in this action, nor am I

20   financially interested in this case.

21

22                  __________________________

23                   Alexis A. Jensen
                     Notary Public
24                   My Commission Expires 01/31/23
     Dated: ________________________
25
